       Case 4:21-cv-00864-KGB          Document 74                 Filed 12/10/24    Page 1 of 2

                              United States Court of Appeals
                                    For The Eighth Circuit
                                    Thomas F. Eagleton U.S. Courthouse
                                    111 South I 0th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                                    VOICE (314) 244-2400
Maureen W. Gornik
                                                                                      FAX (314) 244-2780
Acting Clerk of Court
                                                                                    www.ca8.uscourts.gov



                                      MEMORANDUM                                            
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TO:            Clerk, U.S. District Court, Eastern District of Arkansas                   Dec 10, 2024
                                                                                    4AMMY ( $OWNS LERK
FROM:          Maureen W. Gomik, Acting Clerk of Court                               By: JohnHibbs D.C.
                                                                                
                                                                                                             
DATE:          December 10, 2024

RE:            22-3675 Pharmaceutical Research and Mfrs of America v. Alan McClain, et al

               District Court/Agency Case Number(s): 4:21-cv-00864-BRW



       Enclosed is a letter received from the United States Supreme Court stating that an order
has been filed denying certiorari in the above case.



AMT




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   Case 4:21-cv-00864-KGB       Document 74      Filed 12/10/24   Page 2 of 2

              Supreme Court of the United States
                     Office of the Clerk
                 Washington, DC 20543-0001
                                                                  Scott S. Harris
                                                                  Clerk of the Court
                                                                  (202) 479-3011
                               December 9, 2024


Clerk
United States Court of Appeals for the Eighth
Circuit
Thomas F. Eagleton Courthouse
111 S. 10th Street, Room 24.329
St. Louis, MO 63102-1125


      Re: Pharmaceutical Research and Manufacturers of America
          v. Alan McClain, in His Official Capacity as Commissioner of the
          Arkansas Insurance Department, et al.
          No. 24-118
          (Your No. 22-3675)


Dear Clerk:

      The Court today entered the following order in the above-entitled case:

      The petition for a writ of certiorari is denied.



                                         Sincerely,




                                         Scott S. Harris, Clerk




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